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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION



 TANYA LUCAS, an individual,                             CIVIL ACTION

                        Plaintiff,
                                                         Case No. 2:19-cv-393
 v.
                                                         Judge:
 FLORIDA CANCER SPECIALISTS, P.L., a
 Florida professional limited liability company,         Mag. Judge:

                        Defendant.


                     COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COMES the Plaintiff, TANYA LUCAS (“LUCAS” or “Plaintiff”), by and through

undersigned counsel, and states the following for her Complaint:

                                     CAUSES OF ACTION

       1.      This is an action brought under the Family & Medical Leave Act (FMLA) for (1)

interference in violation of the FMLA, and (2) retaliation in violation of the FMLA.

                                            PARTIES

       2.      The Plaintiff, TANYA LUCAS (“LUCAS”) is an individual and a resident of

Florida who currently resides, and at all material times resided, in Lee County, Florida.

       3.      Defendant, FLORIDA CANCER SPECIALISTS, P.L. (“FCS”) is a Florida

professional limited liability company with a principal place of business located in Fort Myers,

Florida. FCS employed LUCAS.

       4.      At all material times, FCS employed greater than fifty (50) employees.




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                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction of this matter under 28 U.S.C. §1331.

       6.      Venue is proper in the United States District Court for the Middle District of Florida

because the Plaintiff resides in Lee County, and FCS conducts business in, and some or all of the

events giving rise to Plaintiff’s claims occurred in Lee County, Florida, which is within the Middle

District of Florida. Venue is proper in the Fort Myers Division under Local Rule 1.02(b)(5) since

Lee County is within the Fort Myers Division.

                                   GENERAL ALLEGATIONS

       7.      LUCAS began her employment with FCS in August 2017 and was employed as a

customer service representative.

       8.      LUCAS always performed her assigned duties in a professional manner and was

very well qualified for her position.

       9.      LUCAS’ first year of employment was without incident and she passed her

probationary period. However, FCS did issue her any discipline for attendance issues related to

her sons’ serious health condition.

       10.     Beginning in August 2018, LUCAS became FMLA-eligible and began to utilize

intermittent FMLA leave to care for her sons.

       11.     One of LUCAS’ sons suffers from chronic hearing loss and various speech

impediments, and the other son suffers from chronic asthma and speech impediments.

       12.     LUCAS’ sons have a history of these impairments that limit major bodily functions

and several major life activities. LUCAS’ sons’ impairments qualify as serious health conditions

under the FMLA.




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       13.     Almost as soon as LUCAS began taking intermittent FMLA leave, FCS began

issuing her discipline.

       14.     When LUCAS requested additional intermittent FMLA leave in January 2019,

FCS again issued her written discipline.

       15.     When LUCAS requested regular FMLA leave on April 5, 2019, FCS terminated

her employment just 4-days later, on April 9, 2019.

       16.     In sum, after requesting and taking FMLA leave, FCS targeted LUCAS for

termination, ultimately firing her for utilizing leave secured to her by the FMLA.

       17.     Because FCS obtained knowledge that LUCAS’ sons suffered from qualifying

serious health conditions under the FMLA, FCS was obligated to offer LUCAS leave under the

FMLA and reinstate her upon LUCAS attempting to return to work.

       18.     Consequently, FCS interfered with LUCAS’ right to utilize FMLA leave and

retaliated against her when she tried to invoke her right to leave and reinstatement, and thus FCS

has violated the FMLA.

  COUNT I – VIOLATION OF THE FAMILY & MEDICAL LEAVE ACT (“FMLA”)-
                           INTERFERENCE

       19.     The Plaintiff hereby incorporates by reference Paragraphs 1-18 in this Count by

reference as though fully set forth below.

       20.     LUCAS qualified for FMLA leave under 29 U.S.C. § 2611(11); 29 CFR §§

825.113(a); 825.800 since her sons suffered from serious health conditions, the FMLA defining a

serious health condition as an illness, injury, impairment, or physical or mental condition that

involves treatment by a health care provider and LUCAS worked more than 1,250 hours in the

preceding 12 months of employment with the FCS.




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       21.       LUCAS informed FCS of her need for leave due to her sons’ serious health

conditions.

       22.       FCS was responsible for designating leave as FMLA-qualifying and for giving

notice of the designation within five business days, absent extenuating circumstances, after it has

enough information to make that determination, such as when it receives medical certification.

       23.       If FCS were to have decided that LUCAS’ expected absence was not FMLA-

qualifying, it must have notified her of this fact in the Designation Notice under 29 CFR §

825.300(d)(1).

       24.       FCS has never provided LUCAS with any notice disqualifying her FMLA leave.

       25.       In fact, FCS determined that LUCAS was eligible for leave under the FMLA but

then terminated her employment because of her request for federally protected medical leave.

       26.       LUCAS engaged in activity protected by the FMLA when she requested leave due

to her sons’ serious health conditions, consistently informing the FCS of the same.

       27.       FCS knew, or should have known, that LUCAS was exercising her rights under

the FMLA and was aware of LUCAS' need for FMLA-protected absence.

       28.       LUCAS complied with all of the notice and due diligence requirements of the

FMLA.

       29.       FCS was obligated to provide LUCAS, an employee who requested FMLA leave,

up to 12 weeks of unpaid leave and then reinstatement to her former position or an equivalent

position with the same pay, benefits, and working conditions when he returns to work under 29

U.S.C. § 2614(a)(1); 29 CFR § 825.215(a).

       30.       FCS failed to grant leave and to return LUCAS to her former position or an

equivalent position in violation of the FMLA.



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       31.     A causal connection exists between LUCAS's request for FMLA-protected leave

and her termination from employment with the FCS.

       32.     FCS engaged in willful retaliation in violation of the FMLA by terminating

LUCAS 's employment because she engaged in activity protected by the FMLA.

       33.     As a result of the above-described violations of FMLA, LUCAS has been damaged

by FCS in the nature of lost wages, salary, employment benefits and other compensation and is

therefore entitled to recover actual monetary losses, interest at the prevailing rate and liquidated

damages.

       WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award

of damages for lost wages and benefits, prejudgment interest, and liquidated damages under 29

U.S.C. § 2617(a)(1)(A), reinstatement or such other legal or equitable relief as may be appropriate,

and an award of reasonable attorney's fees and costs as authorized under 29 U.S.C. § 2617(3), and

any other such damages as this honorable Court deems just.

   COUNT II – VIOLATION OF THE FAMILY MEDICAL LEAVE ACT (“FMLA”)-
                             RETALIATION

       34.     The Plaintiff hereby incorporates by reference Paragraphs 1-18 and 20-32 in this

Count by reference as though fully set forth below.

       35.     LUCAS engaged in activity protected by the FMLA when she requested leave due

to her sons’ serious health conditions, consistently informing the FCS of the same verbally and in

writing.

       36.     FCS knew, or should have known, that LUCAS was exercising her rights under

the FMLA and was aware of LUCAS' need for FMLA-protected absence.




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        37.     A causal connection exists between LUCAS’ request for FMLA-protected leave

and her termination from employment with FCS because LUCAS engaged in statutorily protected

activity by requesting, taking and demanding reinstatement from FMLA leave.

        38.     FCS retaliated by altering the terms and conditions of LUCAS’ employment by

terminating LUCAS’s employment because she engaged in the statutorily protected activity of

requesting, taking and demanding reinstatement from FMLA leave. FCS refused to return LUCAS

to work because LUCAS requested and took FMLA leave and terminated her because she engaged

in this statutorily protected activity.

        39.     FCS engaged in willful and intentional retaliation in violation of the FMLA by

terminating LUCAS’s employment because she engaged in activity protected by the FMLA.

        40.     As a result of the above-described violations of FMLA, LUCAS has been damaged

by FCS in the nature of lost wages, salary, employment benefits and other compensation and is

therefore entitled to recover actual monetary losses, interest at the prevailing rate and liquidated

damages.

        WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right, an award

of damages for lost wages and benefits, prejudgment interest, and liquidated damages under 29

U.S.C. § 2617(a)(1)(A), reinstatement or such other legal or equitable relief as may be appropriate,

and an award of reasonable attorney's fees and costs as authorized under 29 U.S.C. § 2617(3), and

any other such damages as this honorable Court deems just.

                                   DEMAND FOR JURY TRIAL

        NOW COMES the Plaintiff, TANYA LUCAS, by and through her undersigned attorneys,

and demands a jury trial under Federal Rule of Civil Procedure 38 on all issues triable of right by

a jury in this action.



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                            Respectfully submitted,




Dated: June 11, 2019        /s Benjamin H. Yormak
                            Benjamin H. Yormak
                            Florida Bar Number 71272
                            Trial Counsel for Plaintiff
                            YORMAK EMPLOYMENT & DISABILITY LAW
                            9990 Coconut Road
                            Bonita Springs, Florida 34135
                            Telephone: (239) 985-9691
                            Fax: (239) 288-2534
                            Email: byormak@yormaklaw.com




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